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                 EXHIBIT B-068
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                                                                               FILED IN OFFICE
                 IN THE SUPERIOR COURT OF FULTON COUNT
                             STATE OF GEORGIA                                                      022
IN RE: Special Purpose Grand                                                     DEPUTY l.l:,, SUf'EH10f<COURT
                                               •                             '-·-    FUl TC:'J r,ourory_ GA
Jury

                                                      CASE NO. 2022-EX-000024



                                               •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device m
Courtroom SD in order to X record images and/or K_sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): x_computer of any size, including a
tablet, a notebook, and a laptop; K_smart phone, a cell phone or other wireless
phone; K_camera and other audio or video recording devices X any similar
devices microphone.

The proceedings that the undersigned desires to record commence on August
25, 2022. Subject to direction from the court regarding possible pooled
coverage, the undersigned  wishes to use this device in the courtroom on
August    25, 2022    at 10:30am.

The personnel who will be responsible              for the use of this recording device are:
Sandra Parrish.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


For questions or concerns email pio@fultoncountyqa.gov                                         1
Rule 22 (Rev. 04/01/ 18)
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WSB Radio
(News Agency/Media         Outlet/Law Firm/Individual       Representative)

sandra.parrish@cmg.com
(Email Address)

404-310-5899
(Phone· Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


               The requesting agency:
                             be pool for its media
                      ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 22 nd day of AUGUST 2022.




                                 Atlanta Judicial Circuit




For questions or concerns email pio@fitltoncountuqa.gov                        2
Rule 22 (Rev. 04/01/ 18)
